 Case 8:16-cv-03462-CEH-AAS Document 9 Filed 01/03/17 Page 1 of 1 PageID 53



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

MEDICAL & CHIROPRACTIC CLINIC,
INC.,

        Plaintiff,

v.                                                             Case No: 8:16-cv-3462-T-36AAS

STYMCO TECHNOLGIES, LLC and
JOHN DOES 1-5,

      Defendants.
___________________________________/

                                            ORDER

        Before the Court is the Plaintiff’s Notice of Voluntary Dismissal (Doc. 8). In accord with

the Notice of Voluntary Dismissal, it is ORDERED AND ADJUDGED as follows:

        1)      The Notice of Voluntary Dismissal is APPROVED (Doc. 8).

        2)      This cause is dismissed, without prejudice.

        3)      The Clerk is directed to terminate any pending motions and deadlines and CLOSE

this case.

        DONE AND ORDERED in Tampa, Florida on January 3, 2017.




COPIES FURNISHED TO:
Counsel of Record
